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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


   BRIGHT DATA LTD.

                          Plaintiff,                   Civil Action No. 2:21-cv-00225-JRG-RSP

                                                       JURY TRIAL DEMANDED
   v.

   NETNUT LTD.

                          Defendant.




   DEFENDANT NETNUT LTD.’S NOTICE OF DEVELOPMENTS IN RELATED INTER
                     PARTES REVIEW PROCEEDINGS

         Defendant NetNut Ltd. (“NetNut”) respectfully provides the Court with an update on the

  related proceedings for the asserted patents in this case.

         On July 25, 2022, the United States Patent and Trademark Office (“USPTO”) denied

  petitions for inter partes review filed by Code200, UAB; Teso LT, UAB; Metacluster LT, UAB;

  Oxysales, UAB; and Coretech LT, UAB (collectively, “Oxylabs”) of U.S. Patent No. 10,257,319

  (“the ’319 Patent”) and U.S. Patent No. 10,484,510 (“the ’510 Patent). See Exs. A and B,

  respectively.

         Plaintiff Bright Data Ltd.’s (“Bright Data”) Motion for Corrective Actions and Sanctions

  for Violation of Protective Order and Abuse of Settlement Process, Dkt. 156, and its Supplemental

  Briefing Pursuant to Court Order, Dkt. 193,
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  Dated: July 26, 2022         By:      /s/ Eric H. Findlay
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                                CERTIFICATE OF SERVICE

         I hereby certify that on July 26, 2022, a true and correct copy of the foregoing was

  electronically filed via the Court’s CM/ECF system, which provides electronic service to all

  counsel of record.


                                                              /s/ Eric H. Findlay
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